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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
UNITED STATES OF AMERICA, )
Plaintiff, }
-
SALLY ANN JOHNSON, ;
Defendant, ) Court No. 1:17-CR-10265-001-DIC :
and )
TD BANK, NA,
Gamishee
ANSWER OF THE GARNISHEE
being duly sworn deposes and says:
(Affiant) i
IF GARNISHEE IS AN INDIVIDUAL:

‘That he/she is Gornishee herein doing business in the name of

TD Bank 1006 Axium nny WbLlouel NT 65064

(State full name and adress of business)

IF GARNISHEE IS A PARTNERSHIP:

. That he/she is a member of a partnership which Gamnishes is a partner. |

 

soe ee

IF GARNISHEE IS A CORPORATION:
That he/she isthe. (State official title) of Gamishee,

“Tung DOW 1d wnccuamawen i
On Gamishee was served with the Writ of

Gamishment. ~

 
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i. Have there been previous garnishments in effect? Yes No /
If the answer is yes, describe below.

 

 

2. The Gamishes hes custody, control, or possession of the following property (non-
carnings), in which the Debtor maintains an interest, as described below:

 

 

 

* Description of Property Approximate Description of Debtor's
(include full najhe(s) on accounts) Value interest in Property
L
2
3. .
4.

 

o

3, Gamishee anticipates owing to the judgment-debtor in the future the following amounts:

 

 

 

Amount Estimate date or Period Due
I N/A
2 =
3. $
4, $.

 

 

‘The Gamishee mailed 2 copy of this answer by first-class mail to: (1) Sally Ann Johnson
(2) Assistant U.S. Attorney Brendan T. Mockter.

TDOB. N.
Gamishee

° WA
Subscribed and swom to before me this_\(p _ cay of Qua .

Notary Public
My Commission expires: ats

TARA N FOODER
Notary Public - State of New Jersey

 

 

My Commission Expires Aug 5, 2021

 

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or neree

 

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TD Bank

America’s Most Convenient Bank®
1701 Route 70 East

Cherry Hill, NJ O8003

tdbank.com
T 888 751 9000
3S —*
August 16, 2018 ee 7 |

 

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Financial Litigation Unit-Contractor Paralegal =<
United States Attorney's Office > 5 aaa
1 Courthouse Way Suite 9200 ca - c?
Boston, MA 02210 4 m3 ‘

Re: United States Of America v Sally Ann Johnson
Case No. : 1:17-CR-10265-001-DJC
TD Bank reference number: 858218

Dear Sir or Madam:

This letter is to inform you that after a review, pursuant to 31 CFR Part 212, the following accounts may have been
frozen in compliance with the Order served on the bank in connection with the above referenced matter. Please note,
for any defendant not appearing in the following list, no account was located.

(Account | Name _ | Amount
— Total $0.00

Should you have additional questions, please call me at (856) 380-2675.
Sincerely,

TD Bank, N.A.

Levy Department

P.O. Box 1880
Cherry Hill, NJ 08034
